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UNITED STATES DISTRICT COURT FOR THE
WESTERN DIS'I`RICT OF WISCONSIN

 

CRAIG CUNNINGHAM

Plaintiff,

Case No.: l6-cv-761
vs.

MICHAEL MONTES,
TOLLFREEZONE.COM, INC.
MYDATAGUYS.COM, INC.
P'ODMUSICGEAR.COM, INC.

Defendants.

 

ORDER GRANTING WRIT OF EXECUTION

 

Upon review of the Writ of Execution to the Sheriff of St. Croix County filed With this
Court by the plaintiff, Craig Cunningham,

IT IS HEREBY ORDERED that the plaintiff’s motion for Writ of execution is hereby
GRAN'I`ED.

IT IS FURTHER ORDERED that the Clerk issue a Writ of execution to the Defendants.

Entered this day of , 2017.

BY THE COURT:

 

Honorable J ames D. Peterson
United States District Court Judge

